                    * UNITED STATES
            Case 1:19-cr-00304-LMB   DISTRICT
                                   Document 14 COURT    CRIMINAL
                                                Filed 10/11/19 PageMINUTES    *
                                                                    1 of 1 PageID# 42


Date:     10/11/19         Judge: Brinkema                          Reporter:        A. Thomson
Time:    11:14am - 11:27am                                          Interpreter:
                                                                    Language:
                                                                     Probation Email:
                                                                    Jury Email:
                                                                    Pretrial ofc Pet present
UNITED STATES OF AMERICA
            v.

   HENRY KYLE FRESE                                                1:19cr304
     Defendant’s Name                                                Case Number

    Erika Berman/G. Scott Hulsey                        Danya Atiyeh/Jennifer Gellie
  Counsel for Defendant:                               Counsel for Government
Matter called for:
[X] Arraignment       [ ] Pre-Indictment Plea [ ] Change of Plea [ ] Motions
[ ] Sentencing        [ ] Revocation Hearing [ ] Docket Call         [ ] Appeal (USMC)
[ ] Other
Deft appeared: [X] in person [ ] failed to appear [ X] with Counsel [ ] without Counsel [ ] through Counsel
Filed in open court:
[ ] Information [ ] Plea Agreement [ ] Statement of Facts [ ] Waiver of Indictment [ ] Discovery Order

Arraignment & Plea:
[X] WFA      [ ] FA      [ ] PG [X] PNG Trial by Jury: [ X] Demanded             [ ] Waived
[ ] Days to file Motions with Argument on                          at
[ ] Deft entered Plea of Guilty as to Count(s)                      of the
[ ] Plea accepted, Guilty Count(s)
[ ] Motion for Dismissal of Count(s)                                       by [   ] US [    ] Deft
[ ] Order entered in open court              [   ] Order to follow
[ ] Deft directed to USPO for PSI--- [ ] Deft directed to cooperate with USPO for PSI
[X] Case continued to: 11/01/19       at 11:00am      for:
[ ] Jury Trial    [ ] Bench Trial      [ ] Sentencing [ X] Status
Rule 35:
[ ] US Rule 35 motion for reduction of sentence: [ ] Granted [ ] Denied
Sentence of                      Months heretofore imposed is REDUCED to a term of

Probation/Supervised Release Revocation Hearing:
Defendant [ ] Admits [ ] Denies violations of the conditions of probation/supervised release
Court: [ ] finds [ ] does not find the defendant in violation of the conditions
[ ] Deft is committed to the custody of the BOP to serve a term of              months/days

 Court finds case complex because of the nature of the charges; counsel need to be cleared
 Deft to be released on PR bond with conditions & 3rd party custodian (sister), gps monitor at govt request, deft to pay
costs for gps as able, shall surrender passport to pretrial officer, deft to check in with pretrial after he is released

Deft is: [X ] In Custody [ ] Summons Issued        [   ] On Bond     [ ] Warrant Issued    [ ] 1st appearance

Bond Set at: $                         [ ] Unsecured [ ] Surety [ ] Personal Recognizance
[ ] Release Order Entered     [X] Deft Remanded [ ] Deft Released on Bond [ ] Deft Continued on Bond
